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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


DESMOND L. CAMP,

              Petitioner,                              Civil Case No. 05-74056
                                                       Criminal Case No. 03-80488
v.
                                                       Honorable Patrick J. Duggan
UNITED STATES OF AMERICA,

              Respondent.
                                        /


     OPINION AND ORDER DENYING PETITIONER’S MOTION TO VACATE,
                  SET ASIDE, OR CORRECT SENTENCE

                         At a session of said Court, held in the U.S.
                           District Courthouse, Eastern District
                               of Michigan, on April 7, 2006.

              PRESENT: THE HONORABLE PATRICK J. DUGGAN
                       U.S. DISTRICT COURT JUDGE

        Presently before the Court is Petitioner’s motion under 28 U.S.C. § 2255 to vacate,

set aside, or correct sentence by a person in federal custody. On December 4, 2003,

Petitioner pleaded guilty to one count each of (1) bank robbery, aiding and abetting, in

violation of 18 U.S.C. §§ 2113(a) and 2 (Count 1); (2) using, carrying, or brandishing a

firearm during a crime of violence, in violation of 18 U.S.C. §§ 924(c)(1)(A)(i) and (ii)

(Count 2); and (3) being a felon in possession of a firearm, in violation of 18 U.S.C. §




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922(g)(1) (Count 4). On October 20, 2004,1 this Court sentenced Petitioner to 30 months

incarceration on Counts 1 and 4, to be served concurrently, and 84 months incarceration

on Count 2, to be served consecutively to his sentences on Counts 1 and 4. Petitioner did

not file a direct appeal. He filed the pending motion on October 24, 2005, which is

signed and dated October 3, 2005. The Government filed a response to the motion on

March 30, 2006.

                                     Standard of Review

       A petitioner is entitled to relief under 28 U.S.C. Section 2255 “[i]f the court finds

that the judgment was rendered without jurisdiction, or that the sentence imposed was not

authorized by law or otherwise open to collateral attack, or that there has been such a

denial or infringement of the constitutional rights of the prisoner as to render the

judgment vulnerable to collateral attack.” 28 U.S.C. § 2255. In order to prevail as to

alleged constitutional errors, a petitioner must establish “an error of constitutional

magnitude which had a substantial and injurious effect or influence on the proceedings.”

Watson v. United States, 165 F.3d 486, 488 (6th Cir. 1999)(citation omitted). Where the

petitioner’s motion alleges a non-constitutional error, the petitioner must establish a

“‘fundamental defect which inherently results in a complete miscarriage of justice,’ or, an

       1
        For some reason, the Government states that Petitioner was sentenced on October 9,
2004. In some cases this error would not be significant; however, in this case the Government’s
main argument in response to Petitioner’s motion is that the motion is untimely pursuant to
Section 2255's one-year statute of limitations. But even if Petitioner had been sentenced on
October 9, instead of October 20, the Government’s argument still is wrong. While Petitioner’s
motion only was filed in this Court on October 24, 2005, it was signed and dated October 3,
2005. The Sixth Circuit has adopted the prison mailbox rule for Section 2255 motions. Towns v.
United States, 190 F.3d 468 (6th Cir. 1999)(concluding that date the petitioner signed his Section
2255 motion is the date for determining whether his motion is timely filed).

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error so egregious that it amounts to a violation of due process.” Id. (quoting United

States v. Ferguson, 918 F.2d 627, 630 (6th Cir. 1990)).

       An evidentiary hearing is not required in every case where a petitioner files a

motion to vacate, set aside, or correct sentence pursuant to Section 2255. Where the

motion is inadequate on its face or, although facially adequate, is conclusively refuted by

the files and records of the case, a hearing is not necessary. 28 U.S.C. § 2255; Neal v.

United States, No. 94-2416, 1995 WL 325716, at *2 (6th Cir. May 30, 1995)(citing

United States v. Carbone, 880 F.2d 1500, 1502 (1st Cir. 1989)).

                              Applicable Law and Analysis

                                         Claim 1

       Petitioner claims his rights were violated pursuant to the Supreme Court’s decision

in United States v. Booker, 543 U.S. 220, 125 S. Ct. 738 (2005), when the Court used his

prior armed robbery and felony firearm convictions– which were committed within two

years of his release on probation– to impose an enhancement of 3 points when calculating

his criminal history score. Pursuant to Apprendi v. New Jersey, 530 U.S. 466, 120 S. Ct.

2348 (2000) and its progeny, such as Booker, “[o]ther than the fact of a prior conviction,

any fact that increases the penalty for a crime beyond the prescribed statutory maximum

must be submitted to a jury, and proved beyond a reasonable doubt.” Apprendi, 530 U.S.

at 490, 120 S. Ct. 2362; Blakely v. Washington, 542 U.S. 296, 124 S. Ct. 2531

(2004)(clarifying that “the ‘statutory maximum’ for Apprendi purposes is the maximum

sentence a judge may impose solely on the basis of the facts reflected in the jury verdict

or admitted by the defendant”)(emphasis in original). Petitioner’s claim pursuant to this

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line of cases fails for two reasons.

       First, every federal court that has addressed Booker’s retroactivity– including the

Sixth Circuit– has held that Booker does not apply retroactively to federal defendants

whose convictions were final at the time of the Supreme Court’s pronouncement. See,

e.g., Humphress v. United States, 398 F.3d 855 (6th Cir. 2005); Lloyd v. United States,

407 F.3d 608 (3d Cir. 2005); United States v. Price, 400 F.3d 844 (10th Cir. 2005); In re

Anderson, 396 F.3d 1336 (11th Cir. 2005). Petitioner’s conviction and sentence became

final before the Supreme Court’s January 2005 decision in Booker. See Sanchez-

Castellano v. United States, 358 F.3d 424, 428 (6th Cir. 2004)(providing that, where a

federal criminal judgment is not appealed, it becomes final ten days after it is entered).

Second, even if Booker applied to Petitioner’s collateral attack on his sentence, “the

Supreme Court has uniformly excepted ‘the fact of a prior conviction’ from its general

rule that sentence-enhancing facts must be found by a jury and proved beyond a

reasonable doubt.” United States v. Beasley, – F.3d –, 2006 WL 845564, at 4 (6th Cir.

April 3, 2006)(quoting Booker, 543 U.S. at 244, 125 S. Ct. at 756; Apprendi, 530 U.S. at

490, 120 S. Ct. at 2362-63).2 Thus the Sixth Circuit has held that a defendant’s

constitutional rights are not violated when the district court determines the fact and nature

of a defendant’s prior convictions and uses these findings to impose an increased

sentence.

       The Court therefore concludes that Petitioner is not entitled to collateral relief due


       2
       Although a published opinion, Beasley has not yet reached the Federal Reporter.
Therefore the Court is attaching the opinion to this Opinion and Order.

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to the Court’s use of his prior armed robbery and felony firearm convictions to increase

his criminal history score by 3 points.

                                      Claims 2 and 3

       Petitioner next claims that it was error for the Court to enhance his criminal history

score by 3 points based on a conviction which occurred prior to his eighteenth birthday,

for which probation for the conviction subsequently was revoked after he turned eighteen.

Petitioner also claims that his sentence must be vacated because the Court enhanced his

criminal history score based on his conviction for retail fraud, third degree, for which he

only received a fine.

       As Petitioner failed to file a direct appeal, these claims are procedurally defaulted.

Bousley v. United States, 523 U.S. 614, 621, 118 S. Ct. 1604, 1610 (1998); Peveler v.

United States, 269 F.3d 693, 698 (6th Cir. 2001). To obtain review of a defaulted claim

in a Section 2255 motion, a petitioner must show “cause” to excuse his failure to raise the

claim previously and “actual prejudice” resulting from the alleged violation. Bousley,

523 U.S. at 622, 118 S. Ct. at 1611; Peveler, 269 F.3d at 698-700. Petitioner states that

he failed to present these claims earlier because he “was not knowledgeable of the

[United States Sentencing Guideline Manual] until recently.” See Pet. at 6. Mere

ignorance of the law, however, is insufficient to establish cause. McClesky v. Zant, 499

U.S. 467, 502, 111 S. Ct. 1454 (1991). Moreover, Petitioner cannot establish prejudice as

a result of the alleged errors.

       As reflected in the Presentence Investigation Report, Petitioner’s criminal history

score was 10, resulting in a Criminal History Category V. Pursuant to the 2003 United

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States Sentencing Guidelines (“U.S.S.G.”) which were used in this case, Petitioner’s

guideline imprisonment range based on a total offense level of 19 and a Criminal History

Category V was 57 to 71 months on Counts 1 and 4. The Court departed below the

guideline imprisonment range based on the Government’s motion and imposed a sentence

of 30 months. With respect to Count 2, the statute required a minimum seven year

sentence, consecutive to any other term of imprisonment.

       If the Court were to re-sentence Petitioner without enhancing his criminal history

score in the manner to which he now objects, Petitioner’s criminal history score would be

6, resulting in a Criminal History Category III. Pursuant to the 2003 U.S.S.G.,

Petitioner’s guideline imprisonment range would be 37-46 months. This Court’s sentence

of 30 months on Counts 1 and 4 falls below that range and, in response to Petitioner’s

Section 2255 motion, the Government has indicated that it would not necessarily request

a further departure at re-sentencing. Petitioner’s sentence with respect to Count 2 would

not be affected, as the Court’s sentence was statutorily mandated.

                                        Conclusion

       Based on the reasons set forth above, the Court concludes that Petitioner has not

established an error of constitutional magnitude or an unconstitutional error resulting in a

miscarriage of justice or violation of due process.

       Accordingly,




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      IT IS ORDERED, that Petitioner’s Motion to Vacate, Set Aside or Correct

Sentence is DENIED.


                                      s/PATRICK J. DUGGAN
                                      UNITED STATES DISTRICT JUDGE

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Attachment 1



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                                                    (3) determination that defendant had prior
                                                  state court conviction for "criminal attempt,
Briefs and Other Related Documents                second degree murder" was not clearly
                                                  erroneous; and
                                                   (4) remand for resentencing was warranted.
     United States Court of Appeals,                Affirmed in part, vacated in part, and
              Sixth Circuit.                      remanded.
     UNITED STATES of America,
           Plaintiff-Appellee,                    [1] Criminal Law       0
                    v.
 Carson BEASLEY, Defendant-Appellant.             110k0 k.
              No. 04-6468.                        Sentencing court did not violate the Sixth
                                                  Amendment right to jury trial by determining
         Argued: July 28, 2005.                   the fact and nature of a defendant's prior
     Decided and Filed: April 3, 2006.            convictions and using these findings to
                                                  impose an increased sentence under the
Background: Defendant was convicted, upon         Armed Career Criminal Act (ACCA).
a guilty plea, in the United States District      U.S.C.A. Const.Amend. 6; 18 U.S.C.A. §
Court for the Western District of Tennessee,      924(e).
Bernice B. Donald, J., of being a felon in
possession of a firearm, and was sentenced to     [2] Sentencing and Punishment           0
188 months in prison as an armed career           350Hk0 k.
criminal. Defendant appealed.                     The Sentencing Guidelines and the case law
                                                  have set a low bar for the kinds of evidence
  Holdings: The Court of Appeals, Rosen,          sentencing judges may rely on to decide
District Judge, sitting by designation, held      factual issues at sentencing. U.S.S.G. § 1B1.1
that:                                             et seq., 18 U.S.C.A.
  (1) sentencing court did not violate Sixth
Amendment by determining the fact and             [3] Sentencing and Punishment         0
nature of a defendant's prior convictions and     350Hk0 k.
imposing increased sentence under the Armed       Sentencing court could properly consider
Career Criminal Act (ACCA);                       evidence, such as probation officer's
 (2) sentencing court could properly consider     testimony, in order to decipher meaning of
probation officer's testimony, in determining     notation of "CA:M2" in defendant's prior state
whether prior conviction was predicate            court judgment of conviction, for purpose of
offense under the ACCA;                           determining whether prior conviction was


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predicate offense under Armed Career              not have received a lesser sentence under the
Criminal Act (ACCA), where defendant              advisory Guidelines. U.S.S.G. §
objected to characterization of the notation by   4B1.4(b)(1)(3)(A), 18 U.S.C.A.
the presentence investigation report (PSR) as      Appeal from the United States District Court
"criminal attempt, second degree murder," and     for the Western District of Tennessee at
court did not explore underlying conduct that     Memphis. No. 03-20299--Bernice B. Donald,
led to the prior conviction. 18 U.S.C.A. §        District Judge.
924(e).
                                                   ARGUED: Stephen B. Shankman, Office of
[4] Sentencing and Punishment          0          the Federal Public Defender for the Western
350Hk0 k.                                         District of Tennessee, Memphis, Tennessee,
Determination by sentencing court that            for Appellant. Lawrence J. Laurenzi, Assistant
defendant had prior state court conviction for    United States Attorney, Memphis, Tennessee,
"criminal attempt, second degree murder" was      for Appellee. ON BRIEF: Stephen B.
not clearly erroneous, for purpose of             Shankman, Mary C. Jermann, Office of the
determining that prior conviction was             Federal Public Defender for the Western
predicate offense under Armed Career              District of Tennessee, Memphis, Tennessee,
Criminal Act (ACCA), where state court            for Appellant. Lawrence J. Laurenzi, Assistant
judgment of conviction contained notation of      United States Attorney, Memphis, Tennessee,
"CA:M2," the judgment also stated that            for Appellee.
"CA:M1" was the charged offense, and
underlying indictment revealed that defendant      Before: ROGERS and SUTTON, Circuit
was charged with criminal attempt, first          Judges; ROSEN, District Judge. [FN*]
degree murder. 18 U.S.C.A. § 924(e).
                                                                    OPINION
[5] Sentencing and Punishment         0
350Hk0 k.                                         ROSEN, District Judge.
The Court of Appeals reviews factual
determinations in sentencing for clear error.                  I. INTRODUCTION
                                                   *1 Defendant/Appellant Carson Beasley was
[6] Sentencing and Punishment          0          charged in a single-count indictment with
350Hk0 k.                                         being a felon in possession of a firearm in
Remand for resentencing was warranted for         violation of 18 U.S.C. § 922(g). He pled
defendant convicted of being a felon in           guilty to this offense, and was sentenced to
possession of a firearm and sentenced under       188 months of imprisonment as an armed
the mandatory Sentencing Guidelines, where        career criminal with three prior violent felony
court made a factual determination that           convictions. See 18 U.S .C. § 924(e)(1); U.S.
resulted in an increased sentence under armed     Sentencing Guidelines § 4B1.4. One of these
career criminal sentencing guideline, and         three prior convictions, as identified in
there was no showing that defendant would         Defendant's presentence report, was derived

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from a state court judgment that listed the         U.S.C. § 922(g). According to the presentence
offense of conviction as "CA:M2." The               report, this offense arose out of a "buy/bust"
presentence report stated, and the district         operation in which Defendant and others
court agreed, that this judgment reflected a        allegedly agreed to sell drugs to undercover
conviction for the state-law offense of             officers of the Memphis Police Department.
criminal attempt, second degree murder.             Upon arriving at the agreed-upon location, a
                                                    hotel room in Memphis, Defendant allegedly
 Defendant now challenges his sentence on           pulled a gun and sought to rob the undercover
three grounds. First, he argues that the district   officers rather than complete the planned drug
court invaded the province of the jury, and         transaction. A "take-down" team of officers
thus violated the Sixth Amendment guarantee         watching these events on video from an
of trial by jury, by determining the facts          adjoining hotel room burst through the door
necessary to trigger a sentencing enhancement       and shot Defendant in the chest. When an
for "armed career criminal" status. Defendant       investigation revealed that Defendant had
further contends that the means employed by         prior felony convictions, he was charged with
the district court to construe his state-court      a federal felon-in-possession offense.
"CA:M2" conviction impermissibly deviated
from the so-called "categorical approach"            On April 2, 2004, Defendant entered a plea of
mandated by the Supreme Court in Taylor v.          guilty to the felon-in-possession charge.
United States, 495 U.S. 575, 110 S.Ct. 2143,        Following this plea, a presentence report
109 L.Ed.2d 607 (1990), and Shepard v.              ("PSR") was prepared recommending that
United States, 544 U.S. 13, 125 S.Ct. 1254,         Defendant be sentenced as an armed career
161 L.Ed.2d 205 (2005). Finally, Defendant          criminal under the Armed Career Criminal
asserts that he is entitled to resentencing under   Act, 18 U.S.C. § 924(e), and § 4B1.4 of the
the rule announced in United States v. Booker,      U.S. Sentencing Guidelines. According to the
543 U.S. 220, 125 S.Ct. 738, 160 L.Ed.2d 621        PSR, Defendant's status as an armed career
(2005), and under this circuit's post-Booker        criminal was triggered by three prior violent
decisions. We reject Defendant's challenges to      felony convictions, all in Tennessee state
his classification as an armed career criminal,     courts: (i) a 1991 conviction for criminal
but agree that this case must be remanded for       attempt, aggravated robbery; (ii) a 1991
resentencing under the advisory regime that         conviction for solicitation to commit a felony,
governs federal sentencing in the wake of           aggravated assault; and (iii) a 1995 conviction
Booker.                                             for criminal attempt, second degree murder.

   II. FACTUAL AND PROCEDURAL                        *2 At a sentencing hearing held on November
             BACKGROUND                             24, 2004, Defendant raised both legal and
 Defendant/Appellant Carson Beasley was             factual challenges to the PSR's
charged in an August 19, 2003 indictment            characterization of him as an armed career
with a single count of being a felon in             criminal. First, in light of the Supreme Court's
possession of a firearm, in violation of 18         then-recent ruling in Blakely v. Washington,

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542 U.S. 296, 124 S.Ct. 2531, 159 L.Ed.2d         presentence investigations, entailing frequent
403 (2004), Defendant argued that the district    review of Tennessee criminal court records.
court could not permissibly engage in             Based on this experience, Hanley opined that
factfinding regarding his purported status as     these state court records often include
an armed career criminal without running          abbreviations, and that, in his view, "CA:M2"
afoul of the Sixth Amendment guarantee of         was an abbreviation for the Tennessee offense
trial by jury. Next, Defendant contended that     of criminal attempt, second degree murder.
the records of his Tennessee court convictions    On cross-examination, Hanley acknowledged
were unclear in certain material respects, and    that he had not received any formal training in
would not permit the determination that he        construing abbreviations in state court
had three prior violent felony convictions as     records, and that his knowledge on this
necessary to sentence him as an armed career      subject was derived primarily from speaking
criminal. As his principal example of this        to state court clerks and his fellow
ambiguity, Defendant cited a state-court          presentence investigators.
judgment reflecting his conviction for
"CA:M2," an offense construed in the PSR as         After hearing this evidence and the
criminal attempt, second degree murder.           arguments of counsel, the district court found
                                                  that the state court "CA:M2" judgment
 In response to this factual challenge, the       reflected a conviction for the Tennessee
Government proposed two means by which            offense of criminal attempt, second degree
the district court could reasonably determine     murder:
that "CA:M2" meant criminal attempt, second         ... [T]he court finds based on the review of
degree murder. First, the Government                the judgment and indictment that without
produced the corresponding state court              the benefit of any additional testimony the
indictment, which reflected that Defendant          court can look at the indictment and see that
had been charged with the offense of criminal       the indictment charged criminal attempt
attempt, first degree murder. The judgment of       felony, to-wit: First degree murder.
conviction, in turn, listed the charged offense     The information reflected on the judgment
as "CA:M1," and the offense of conviction as        for the [charged] offense shows C-A colon
"CA:M2." [FN1] The Government argued                M-1, [and] there's no dispute but that the
that these two state court documents, viewed        original charge was criminal attempt first
in tandem, would permit the reasonable              degree murder.
inference that "CA:M2" was an abbreviation          *3 And the attempt statute, the TCA
for the offense of criminal attempt, second         39-12-101 is included on the face of the ...
degree murder.                                      indictment.
                                                    In looking on that same judgment for the
 The Government also offered the testimony          conviction offense, the legend C-A colon
of Patrick Hanley, the probation officer who        M-2 is included with the same reference [to
had prepared Defendant's PSR. Hanley                the] attempt statute.
testified that he had conducted over 150            It is reasonable to construe that since the

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 offense was abbreviated that these                 district court arrived at a total offense level of
 abbreviations, which mirror each other with        31, a criminal history in category VI, and a
 the exception of the two, would indicate that      resulting sentencing range of 188 to 235
 the defendant pled guilty to the offense of        months. The court sentenced Defendant to 188
 criminal attempt murder two. The court             months of imprisonment, observing that this
 finds that it can look at the face of the          fell at "the lowest end of the guideline range."
 judgment as well as the information in the         (11/24/2004 Sentencing Hearing Tr. at 110,
 indictment to form a basis to determine the        J.A. at 71.) Defendant now appeals,
 charge. And the court finds that this              challenging various aspects of the district
 defendant did plead guilty to criminal             court's determination of his sentence.
 attempt murder two, [and] that that is a
 predicate offense for the purposes of the                      III. ANALYSIS
 career offender enhancement.                        A. The District Court Did Not Err in
   (11/24/2004 Sentencing Hearing Tr. at            Sentencing Defendant as an Armed Career
96-97, J.A. at 57-58.)                              Criminal.

   Having determined that Defendant's                 In challenging his sentence, Defendant
"CA:M2" conviction qualified as a violent           focuses principally, and not surprisingly, on
felony conviction and that Defendant had two        the factor that most heavily influenced this
other such prior convictions, the district court    sentence--namely, the district court's
accepted the PSR's recommendation that              determination that he should be sentenced as
Defendant be sentenced as an armed career           an armed career criminal under 18 U.S.C. §
criminal under § 4B1.4 of the U.S. Sentencing       924(e) and § 4B1.4 of the U.S. Sentencing
Guidelines. The court further concluded that        Guidelines. Defendant first argues, as a purely
the firearm involved in Defendant's                 legal matter, that the district court violated his
felon-in-possession offense had been "used or       Sixth Amendment right to a trial by jury by
possessed ... in connection with ... a crime of     making factual findings that triggered an
violence," U.S.S.G. § 4B1.4(b)(1)(3)(A),            enhanced sentence for armed career criminal
thereby increasing Defendant's offense level        status. Defendant next contends that the
under the Sentencing Guidelines from 33 to          district court committed both factual and legal
34. In applying this increase, the district court   error by counting his state court "CA:M2"
relied principally upon a videotape of the          conviction toward the three prior violent
"buy/bust" operation that was introduced at         felony convictions that warrant sentencing as
sentencing, explaining that this video revealed     an armed career criminal.
Defendant's participation in a robbery attempt
and his use of the subject firearm in                *4 [1] Defendant's first challenge is squarely
furtherance of this crime. [FN2]                    defeated by controlling Supreme Court and
                                                    Sixth Circuit precedent. In Apprendi v. New
  After granting Defendant a three-level            Jersey, 530 U.S. 466, 120 S.Ct. 2348, 147
reduction for acceptance of responsibility, the     L.Ed.2d 435 (2000), and its progeny,

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including the recent decision in United States     define burglary in many different ways."
v. Booker, 543 U.S. 220, 125 S.Ct. 738, 160        Taylor, 495 U.S. at 580, 110 S.Ct. at 2149. To
L.Ed.2d 621 (2005), the Supreme Court has          avoid the concern that the same or similar
uniformly excepted "the fact of a prior            conduct might qualify as a "burglary," and
conviction" from its general rule that             hence a "violent felony," in one state but not
sentence-enhancing facts must be found by a        another, the Court concluded that " 'burglary'
jury and proved beyond a reasonable doubt.         in § 924(e) must have some uniform definition
See Booker, 543 U.S. at 244, 125 S.Ct. at 756;     independent of the labels employed by the
Apprendi, 530 U.S. at 490, 120 S.Ct. at            various States' criminal codes." Taylor, 495
2362-63. Citing this distinction between prior     U.S. at 592, 110 S.Ct. at 2155.
convictions and other sentence-enhancing
factors, we have held that a district court does     After surveying several candidates and
not violate the Sixth Amendment by                 adopting a "generic" definition of "burglary,"
determining the fact and nature of a               the Court turned to "a more general
defendant's prior convictions and using these      issue--whether the sentencing court in
findings to impose an increased sentence           applying § 924(e) must look only to the
under the Armed Career Criminal Act. See           statutory definitions of the prior offenses, or
United States v. Barnett, 398 F.3d 516,            whether the court may consider other
524-25 (6th Cir.2005). Accordingly, we reject      evidence concerning the defendant's prior
Defendant's Sixth Amendment challenge to           crimes." 495 U.S. at 600, 110 S.Ct. at 2159.
the procedure employed by the district court       The Court endorsed a "categorical approach"
in deciding to sentence him as an armed            to this inquiry, under which a sentencing court
career criminal.                                   may consult only a limited record in
                                                   determining whether a defendant's prior
  Nonetheless, Defendant asserts that the          convictions trigger a statutory enhancement:
district court's inquiry on this subject             We think the only plausible interpretation of
impermissibly deviated from the "categorical         § 924(e)(2)(B)(ii) is that, like the rest of the
approach" prescribed by the Supreme Court in         enhancement statute, it generally requires
Taylor v. United States, 495 U.S. 575, 110           the trial court to look only to the fact of
S.Ct. 2143, 109 L.Ed.2d 607 (1990), and              conviction and the statutory definition of the
Shepard v. United States, 544 U.S. 13, 125           prior offense. This categorical approach,
S.Ct. 1254, 161 L.Ed.2d 205 (2005). In               however, may permit the sentencing court to
Taylor, the Court addressed the subsection of        go beyond the mere fact of conviction in a
§ 924(e) that lists "burglary" among the             narrow range of cases where a jury was
"violent felon[ies]" that trigger a sentencing       actually required to find all the elements of
enhancement. See 18 U.S.C. §                         generic burglary. For example, in a State
924(e)(2)(B)(ii). The Court observed that            whose burglary statutes include entry of an
"[t]he word 'burglary' has not been given a          automobile as well as a building, if the
single accepted meaning by the state courts,"        indictment or information and jury
and that "the criminal codes of the States           instructions show that the defendant was

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  charged only with a burglary of a building,      under § 924(e), the district court did not
  and that the jury necessarily had to find an     confront the dilemma addressed in Taylor and
  entry of a building to convict, then the         Shepard--namely, how to determine whether
  Government should be allowed to use the          a "generic" state court conviction qualifies as
  conviction for enhancement.                      one of the offenses enumerated in the Armed
   *5 495 U.S. at 602, 110 S.Ct. at 2160           Career Criminal Act. Rather, the question here
(footnote omitted).                                was more rudimentary--the district court was
                                                   called upon to determine precisely what state
  Although Taylor considered a state-court         court offense was reflected in the "CA:M2"
conviction of a "burglary" offense following       notation on Defendant's judgment of
a trial by jury, the Supreme Court recently        conviction. Taylor 's categorical approach
confirmed that Taylor's "categorical               would apply, if at all, only after the district
approach" applies as well to "other predicate      court made this threshold identification of the
... offenses" under § 924(e), and also governs     offense of conviction. See United States v.
"the identification of generic convictions         Warwick, No. 04-6265, 2005 WL 2293478, at
following pleas." Shepard, 125 S.Ct. at            *3 n. 1 (6th Cir. Sept.20, 2005) (observing
1257-58 n. 2, 1259; see also United States v.      that Shepard does not govern the distinct,
Martin, 378 F.3d 578, 581 (6th Cir.2004)           antecedent inquiry "whether the Government
(cataloging the various circumstances under        has furnished sufficient evidence to prove
which this circuit has applied the "categorical    merely that a conviction exists").
approach" to classifying prior convictions).
Turning next to the question of which portions      [2] Viewed in its proper context, the district
of the state court record could be consulted in    court's inquiry was akin to construing a
categorizing a conviction based upon a guilty      judgment that, say, contained a misspelled
plea, the Supreme Court reasoned that the          word or was written in a foreign language. We
"closest analogs" to the jury instructions         know of no prohibition against consulting
permitted under Taylor would be "the               reliable sources--or, indeed, applying basic
statement of factual basis for the charge,         common sense--to resolve such questions
shown by a transcript of plea colloquy or by       about the proper interpretation of words or
written plea agreement presented to the court,     notations that appear on the face of a
or by a record of comparable findings of fact      judgment. If, for example, a judgment
adopted by the defendant upon entering the         purported to depict a conviction of second
plea." Shepard, 125 S.Ct. at 1259-60 (citation     degree "mruder," we see no reason why a
and footnote omitted). [FN3]                       district judge could not consult a dictionary,
                                                   note the absence of the word "mruder," and
 Upon reviewing these precedents, it becomes       conclude that "murder" was the intended
readily apparent that they are inapposite to the   word. As we have recognized, "[t]he
challenge advanced by Defendant here. In           Sentencing Guidelines and this circuit's case
considering whether Defendant's "CA:M2"            law have set a low bar for the kinds of
conviction counted as a predicate offense          evidence sentencing judges may rely on to

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decide factual issues at sentencing ." United     Defendant's contention that it was improper
States v. Wiant, 314 F.3d 826, 832 (6th Cir.),    for the district court to hear the testimony of
cert. denied, 538 U.S. 970, 123 S.Ct. 1774,       the probation officer who prepared the PSR.
155 L.Ed.2d 529 (2003); see also 18 U.S.C. §      This report, after all, effectively embodied the
3661 ("No limitation shall be placed on the       hearsay testimony of the probation officer.
information concerning the background,            Surely, then, Defendant could only have been
character, and conduct of a person convicted      helped, and not hurt, by the opportunity to
of an offense which a court of the United         cross-examine the probation officer regarding
States may receive and consider for the           the grounds for the conclusions he reached in
purpose of imposing an appropriate                the PSR.
sentence.").
                                                   [4] In any event, even accepting Defendant's
 *6 [3] In this case, Defendant objected to the   assertion that the "categorical approach"
PSR's characterization of his "CA:M2"             governed the district court's effort to construe
conviction as reflecting the underlying offense   the "CA:M2" notation on the state court
of criminal attempt, second degree murder.        judgment of conviction, nothing in the district
Having raised this objection, Defendant can       court's inquiry was in any way inconsistent
hardly complain that the district court           with such an approach. The restrictions
proceeded, in compliance with Fed.R.Crim.P.       imposed in Taylor are intended to limit a
32(i) and this circuit's precedents, see, e.g.,   sentencing court's focus to "the fact of
United States v. Darwich, 337 F.3d 645,           conviction, rather than the facts behind the
666-67 (6th Cir.2003), to take evidence and       conviction." United States v. Lewis, 405 F.3d
rule upon this disputed issue. Nor has he         511, 515 (7th Cir.2005); see also United
suggested how the evidence admitted in the        States v. Butler, 207 F.3d 839, 843 (6th
course of this inquiry might have lacked the      Cir.2000) (observing that the categorical
"minimal indicia of reliability" necessary for    approach prohibits any inquiry into "the
its consideration at sentencing, United States    defendant's actual criminal conduct" (internal
v. Mayle, 334 F.3d 552, 559 (6th Cir.2003);       quotation marks and citations omitted)). Here,
see also U.S.S.G. § 6A1.3(a) (requiring only      the district court did not explore the
that "the information has sufficient indicia of   underlying conduct that led to Defendant's
reliability to support its probable accuracy"),   "CA:M2" conviction, nor did any of the
or might otherwise have been inappropriate        evidence at sentencing bring any such
for use in deciphering the "CA:M2" notation       information to light. Rather, in making its
on the state court judgment, see United States    determination, the district court expressly
v. Redding, 16 F.3d 298, 302-03 (8th              stated that it relied only on the state court
Cir.1994) (affirming the district court's         judgment and underlying indictment, (see
reliance on a variety of extrinsic evidence to    11/24/2004 Sentencing Hearing Tr. at 96-97,
determine that a prior conviction under a         J.A. at 57-58), materials that are explicitly
different name was properly attributable to the   within the scope of the "categorical approach"
defendant). In particular, we cannot accept       approved by the Supreme Court. See Taylor,

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495 U.S. at 602, 110 S.Ct. at 2160. [FN4]         by the district judge, without supplying any
Thus, even assuming that the district court       factual basis for this challenge or suggesting
should not have admitted the probation            some other plausible meaning for this
officer's testimony--and, again, the basis for    notation. Such a bare denial does not suffice
this exclusion is not apparent to us--we would    to cast doubt upon the accuracy of the PSR on
readily conclude that this error was harmless.    this point, or to preclude the district court's
See United States v. Hazelwood, 398 F.3d          reliance on this aspect of the PSR in
792, 801 (6th Cir.2005) (confirming that          determining Defendant's sentence. See United
errors at sentencing are subject to harmless      States v. Lang, 333 F.3d 678, 681-82 (6th
error review).                                    Cir.2003); see also United States v. Cooper,
                                                  375 F.3d 1041, 1053 (10th Cir.) (rejecting the
 *7 [5] Finally, we note the absence of any       contention that additional evidence is required
contention, or even suggestion, that the          to overcome a defendant's bare denial that he
district court might have gotten it wrong in      is the individual named in the prior judgments
determining that "CA:M2" translated to            of conviction offered by the Government),
criminal attempt, second degree murder. We        cert. denied, 543 U.S. 1011, 125 S.Ct. 634,
review such factual determinations for clear      160 L.Ed.2d 478 (2004). Surely, then, such a
error, see United States v. Graves, 60 F.3d       flat denial, without more, does not warrant the
1183, 1185 (6th Cir.1995), and the record         reversal of the district court's well-reasoned
before us does not permit the conclusion that     factual finding under the clearly erroneous
the district judge committed any sort of error,   standard. Accordingly, we find no basis to
clear or otherwise. As the district court         disturb the district court's decision to sentence
explained at sentencing, the state court          Defendant as an armed career criminal. [FN5]
judgment of conviction included the notation
"CA:M1" as the charged offense, and simple         B. Defendant Is Entitled to Resentencing
inspection of the underlying indictment           under Booker and the Subsequent Rulings of
revealed that Defendant had been charged          This Court.
with criminal attempt, first degree murder. As
a matter of basic common sense, then, the          [6] As his final issue on appeal, Defendant
district court reasonably construed the           argues that he is entitled to a remand for
"CA:M2" notation on the judgment of               resentencing in light of the ruling in United
conviction as referring to the offense of         States v. Booker, 543 U.S. 220, 125 S.Ct. 738,
criminal attempt, second degree murder.           160 L.Ed.2d 621 (2005), and this circuit's
                                                  post-Booker decisions. In response, the
 Defendant has not identified any flaws in this   Government concedes that a remand is
reasoning, much less suggested how it could       required, where (i) the district court made a
be deemed clearly erroneous. Rather,              factual determination at sentencing that
Defendant merely hints at some lingering          Defendant used or possessed a firearm "in
metaphysical doubt as to the translation of       connection with ... a crime of violence,"
"CA:M2" proposed in the PSR and accepted          U.S.S.G. § 4B1.4(b)(1)(3)(A), resulting in an

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offense level increase from 33 to 34; (ii) the           attempted robbery was a police
district court, in accordance with the settled           officer. This finding ultimately had no
law at the time, treated the federal sentencing          impact on Defendant's sentence, in
guidelines as mandatory; and (iii) nothing in            light of the district court's
the record rebuts the presumption, as                    determination that Defendant should
recognized in this circuit's precedents, that            be sentenced as an armed career
Defendant might have received a lesser                   criminal.
sentence if the district court had regarded the
guidelines as merely advisory. See United                FN3. Notably, the Shepard Court did
States v. Barnett, 398 F.3d 516, 527-29 (6th             not revisit the rulings in Apprendi and
Cir.2005); United States v. Oliver, 397 F.3d             its progeny that permit judicial
369, 378-81 (6th Cir.2005). Consequently, we             factfinding concerning a defendant's
vacate Defendant's sentence and remand for               prior convictions. See Shepard. 125
resentencing. [FN6]                                      S.Ct. at 1264 (Thomas, J., concurring
                                                         in part) (urging the Court to "consider
              IV. CONCLUSION                             [the] continuing viability" of this
  *8 For the reasons set forth above, we                 aspect of Apprendi "in an appropriate
AFFIRM the district court's decision to                  case"); 125 S.Ct. at 1269-70
sentence Defendant/Appellant Carson Beasley              (O'Connor, J., dissenting) (reading the
as an armed career criminal, but VACATE                  plurality and concurring opinions as
Defendant's sentence and remand for                      portending such a development in a
resentencing in accordance with Booker and               subsequent case). Thus, Shepard poses
this court's post-Booker precedents.                     no difficulty to our earlier rejection of
                                                         Defendant's Sixth Amendment
       FN* The Honorable Gerald E. Rosen,                challenge to his sentence enhancement
       United States District Judge for the              under § 924(e). Unless and until the
       Eastern District of Michigan, sitting             Supreme Court takes this next step,
       by designation.                                   we are bound to follow its current
                                                         statement of the law on this subject.
       FN1. These state court documents                  See United States v. Hill. 440 F.3d
       have not been reproduced in the                   292, 2006 WL 469973, at *5 n. 3 (6th
       record on appeal, but the parties                 Cir. Mar.1, 2006) (rejecting the
       apparently agree upon their contents.             contention that the plurality and
                                                         concurring opinions in Shepard have
       FN2. The district court declined,                 undermined this circuit's ruling in
       however, to apply a three-level                   Barnett, supra ).
       "official victim" enhancement under §
       3A1.2 of the Sentencing Guidelines,               FN4. While the Government
       citing a lack of evidence that                    suggested at oral argument that the
       Defendant knew that the target of his             district judge also relied on her own

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       background and experience as a state
       court judge, we have been unable to
       identify any support for this
       contention in the record before us.
       Thus, we do not decide whether such
       reliance might be appropriate under
       the proper circumstances.

       FN5. Before leaving this issue, we
       wish to emphasize that the
       Government can avoid an appellate
       challenge to an armed career criminal
       enhancement by incorporating this
       enhancement into a plea agreement or
       raising the issue during the plea
       colloquy. Unfortunately, the
       Government failed to do so in this
       case.

       FN6. On remand, the district court is
       free to consider again the one-level
       "crime of violence" enhancement that
       was imposed at Defendant's initial
       sentencing, so long as the resulting
       sentencing range is treated as advisory
       rather than mandatory.


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